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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           Case No.: 10-80637-Civ-Marra/Johnson

  DAVID A. RUBIN,

         Plaintiff,
  v.

  RECEIVABLES PERFORMANCE MANAGEMENT, LLC,

        Defendant.
  _______________________________/

                          PLAINTIFF’S VERIFIED MOTION FOR
                      AN AWARD OF COSTS AND ATTORNEY’S FEES

         Plaintiff, David A. Rubin, moves the Court for an Order that Defendant,

  Receivables Performance Management, LLC, pay to Plaintiff an award of costs, litigation

  expense, and attorney’s fees for Defendant’s violations of the Fair Debt Collection

  Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection

  Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”), and in support thereof states as

  follows:

         1.     On May 21, 2010, Plaintiff filed his Complaint (DE 1) alleging that

  Defendant violated the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

  (“FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

  seq. (“FCCPA”).

         2.     Plaintiff herein was represented by Donald A. Yarbrough.

         3.     Defendant offered Plaintiff $2,001.00 plus reasonable attorney’s fees and


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  costs as determined to be recoverable by the Court or otherwise agreed to by the parties

  to resolve Plaintiff’s claims. Plaintiff accepted the offer, and filed a notice of settlement

  with the Court (DE 24). Thereafter, the Court entered an Order dismissing the case in

  light of the parties’ settlement (DE 26).

         4.     Accordingly, Plaintiff is prevailing party and his recovery was excellent.

  He recovered the maximum amount of damages permitted by law with respect to the

  FDCPA and FCCPA. Plaintiff sought only statutory damages in this case; he did not seek

  actual damages.

         5.     Plaintiff's attorney Donald A. Yarbrough has expended a total of 20.48

  hours on behalf of Plaintiff. See Declaration of Donald A. Yarbrough in Support of

  Plaintiff's Motion for Award of Costs and Attorney’s Fees, accompanying this Motion.

  An itemized account is contained in the Declaration of Donald A. Yarbrough in Support

  of Plaintiff's Motion for Award of Costs and Attorneys’ Fees. Thus the attorney fees

  Plaintiff seeks are appropriate to the litigation of the FDCPA and FCCPA claim.

         6.     The hourly rate for the services provided by Donald A. Yarbrough is

  $350.00 per hour.

         7.     The reasonable attorney fee for the services of Donald A. Yarbrough in this

  matter is $7,168.00 (20.48 hours x $350/hour).

         8.     Mr. Yarbrough incurred costs and litigation expenses of $380.00 in

  prosecution of this matter. See Declaration of Donald A. Yarbrough in Support of

  Plaintiff's Motion for Award of Costs and Attorneys’ Fees.
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         9.     Under the FDCPA, a prevailing Plaintiff is entitled to attorney fees and

  costs incurred in the litigation of this Motion for Attorney Fees and Costs, and,

  accordingly, Plaintiff will file a supplemental Declaration once Defendant has filed its

  opposition and Plaintiff has filed his reply detailing the additional time spent on the

  litigation of this motion.

         10.    Pursuant to S.D. Fla. L.R. 7.3 B(iii), Plaintiff discloses that the terms of his

  agreement with counsel for payment of attorney’s fees and costs are the greater of 40% of

  any recovery or $350.00 per hour plus costs incurred.

         11.    The total reasonable attorney fee for the services of Plaintiff’s counsel is

  $7,168.00 and costs of $380.00 for a total of $7,548.00.

         WHEREFORE, Plaintiff respectfully requests that this Court award reasonable

  attorney fees for the services of Plaintiff’s counsel in the amount of $7,168.00 and costs

  of $380.00 for a total of $7,548.00.

                         CERTIFICATION PURSUANT TO RULE 7.3 B

         The undersigned has reviewed the time records and supporting data in this matter

  and this Motion is well grounded in fact and is justified.

                                             s/Donald A. Yarbrough
                                             DONALD A. YARBROUGH



               CERTIFICATION REQUIRED BY S.D. Fla. L.R. 7.1 A 3(a)




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         Pursuant to Local Rule 7.3(b), a draft of this motion compliant with Local Rule

  7.3(a)(1)-(7) was served on Defendant on August 15, 2011. Counsels for the parties

  conferred on the motion, and Defendant objected to Plaintiff’s counsel’s hourly rate; the

  amount of time spent drafting the complaint; the amount of time spent reviewing the

  audio recordings; the amount of time spent responding to Defendant’s discovery requests;

  and all time related to Defendant’s motion for contempt. The parties reached an

  agreement as to the amount of time reasonable to draft the Complaint, and Plaintiff has

  reduced that time accordingly. The parties have not resolved any other issues by

  agreement.


                                      VERIFICATION

         I, Donald A. Yarbrough, declare under penalty of perjury, as provided for by the

  laws of the United States, 28 U.S.C. §1746, that the foregoing statements are true.

  Executed this 13 day of September, 2011
  at Fort Lauderdale, Florida


                                            Respectfully submitted,

                                            DONALD A. YARBROUGH, ESQ.
                                            Attorney for Plaintiff
                                            Post Office Box 11842
                                            Fort Lauderdale, Florida 33339
                                            Telephone: (954) 537-2000
                                            Facsimile: (954) 566-2235
                                            donyarbrough@mindspring.com

                                            s/Donald A. Yarbrough

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                                     Donald A. Yarbrough, Esq.
                                     Florida Bar No. 0158658




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                           UNITED STATES DISTRICT COURT
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  v.

  RECEIVABLES PERFORMANCE MANAGEMENT, LLC,

        Defendant.
  _______________________________/

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 13, 2011, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.



                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.


                                      SERVICE LIST

  Mr. Dale T. Golden, Esq.
  Golden & Scaz, PLLC
  201 North Armenia Avenue
  Tampa, FL 33609
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  Via Notices of Electronic Filing generated by CM/ECF
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